     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 1 of 61




1                               SWORN STATEMENT
2
3       Verbatim Transcript of investigative examination in the

4       Complaint of Jacabed Rodriguez-Coss v. United States

5       Department of Justice, Justice Management Division

6
7
8
9       BEFORE:                           Cheryl Epps
10                                        Contract EEO Investigator
11                                        For JDG Associates, Inc.
12
13
14
15      OBD-2014-00281
16
17
18      EXAMINATION OF Jacabed Rodriguez-Coss
19
20
21
22      September 5, 2014
23




                                                                    RC0677
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 2 of 61


                                                                           2



1             MS. EPPS:   Today is September 5, 2014. This is

2       Cheryl Epps, Contract EEO Investigator for JDG

3       Associates, Inc., and I am interviewing Ms. Jacabed

4       Rodriguez-Coss for her complaint, which is No. OBD-2014-

5       00281, Department of Justice, Equal Employment

6       Opportunity Staff, Justice Management Division.           So Ms.

7       Rodriguez-Coss, do you swear or affirm that the following

 8      information you will give is true and correct to the best

9       of your knowledge?

10            COMPLAINANT:    I do.

11            MS. EPPS:   Okay.   For the record, would you please

12      state and spell your name?

13            COMPLAINANT:   My name is Jacabed Rodriguez-Coss,

14      first name J-A-C-A-B (as in boy) E-D (as in David), last

15      name Rodriguez-Coss, R-0-D-R-I-G-U-E-Z -       c-o-s-s.
16            MS. EPPS:   Thank you.    Are you currently employed by

17      the Department of Justice?

18            COMPLAINANT:    I am.

19            MS. EPPS:   Okay.   How long have you been employed by

20      the Department of Justice?

21            COMPLAINANT:    Since January of 1995.

22            MS. EPPS:   Okay.   Please state your position title,

23       series, grade, and work location.

24            COMPLAINANT:    I'm currently an Assistant United

25       States Attorney in the District of Connecticut.          I am




                                                       Initia1s    ~

                                                                         RC0678
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 3 of 61


                                                                         3



1       physically located in their Bridgeport branch.        My grade,

2       we're not --- AUSAs are not on the grade pay scale, we're

3       on a different administrative appropriation.        I believe

4       I'm AD-29, but I'd have to say that I have not seen my

5       new SF-50 since my recent appointment as an AUSA, but

6       last I checked it should be AD-29.

7             MS. EPPS:   Okay, that's fine.      And what is the name

 8      of your current first-line supervisor?

9             COMPLAINANT:    Stephen Reynolds.

10            MS. EPPS:   And would you spell that for us?

11            COMPLAINANT:    Stephen Reynolds, S-T-E-P-H-E-N,

12      Reynolds, R-E-Y-N-0-L-D-S.

13            MS. EPPS:   How long has this person served as your

14       first-line supervisor?

15            COMPLAINANT:    Since I began with the District of

16      Connecticut June 1, 2014.

17            MS. EPPS:   And what is the name of your current

18       second-line supervisor?

19            COMPLAINANT:    When you say second-line, you're

20       talking above Steve, correct?

21            MS. EPPS:   Yes.

22            COMPLAINANT:    So that would be Ray Miller.

23            MS. EPPS:   Okay.    Is that R-A-Y, M-I-L-L-E-R?

24            COMPLAINANT:    Correct.




                                                        Initials~
                                                                    RC0679
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 4 of 61


                                                                        4



1             MS. EPPS: And how long has this person served as

2       your second-line supervisor?

3             COMPLAINANT:    Same time.

4             MS. EPPS:   Okay.   So your claims have been accepted

5       for investigation on the basis of your sex, national

6       origin, disability status, parental status, and reprisal

7       based on your current prior EEO activity, so for the

8       record, please state your sex.

9             COMPLAINANT:    I'm female.

10            MS. EPPS:   Please state your national origin.

11            COMPLAINANT:    I'm Puerto Rican, Hispanic.

12            MS. EPPS: Do you have a physical or mental

13       impairment, or are you regarded as having such?

14            COMPLAINANT: Well, over the last, what, year or so,

15       I've been having --- I've been under --- I've been under

16       a lot of stress that led me eventually to seek

17      psychiatric treatment.

18            MS. EPPS:   Okay, so the nature of your impairment

19       would be a psychiatric impairment, is that what you're

20       saying?

21            COMPLAINANT:    A mental condition, correct.

22            MS. EPPS:   Okay. And you said how long has this been

23       going on?

24            COMPLAINANT:    I think it would be progressive over

25       the last year or so.




                                                       Initials   ~

                                                                    RC0680
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 5 of 61


                                                                                5



1             MS. EPPS:    Okay.     Over the last year or so?
2             COMPLAINANT:    Correct.
3             MS. EPPS:    Okay.     So does this impairment
4       substantially limit your ability to perform any major

5       life activity or bodily function?

6             COMPLAINANT:    Not at this time.

7             MS. EPPS:    Okay.     Did it ever?
8             COMPLAINANT:    Yes.
9             MS. EPPS:    Okay.     And in what way did it
10      substantially limit your ability to perform?
11            COMPLAINANT:    I mean at one point in time I was
12      barely sleeping.     I was suffering from recurring chest

13      pains, was unable to focus, and further than that, I
14      think I would rather rely on my medical record.
15            MS. EPPS:    Okay.     And so the onset of all of these

16       symptoms would have been a year or so, as you said?
17            COMPLAINANT:    I think so.

18            MS. EPPS:    So do you consider yourself recovered in

19      whole or in part from these?

20            COMPLAINANT:    Definitely in part.            I'm still seeing

21      my --- my psychiatrist and my condition has definitely
                                             still under treatment
22       improved significantly, but I'm      fttne-l-e'Ci:'~].

23            MS. EPPS:    Okay.     Is there prognosis for whole ---

24       your recovery in whole?




                                                                  Initials   ~

                                                                             RC0681
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 6 of 61


                                                                          6



1             COMPLAINANT:     I'm not sure how to answer that.       I

2       think that's a better question for my psychiatrist.

3             MS. EPPS:    Oh, okay.    And any of the medical

4       documentation that you provide, do you think there would

5       be a prognosis anywhere in there already written by your

6       psychiatrist?

7             COMPLAINANT:     I don't have that documentation in

 8      front of me.      I do believe that there was a prognosis at

9       some point, and so I would just rely on the written

10      documentation that I've submitted.

11            MS. EPPS:     Okay, so when I review that, if I do not

12      see anything stating a prognosis, I'll get back to you on

13      that, okay?

14            COMPLAINANT: Sure.

15            MS. EPPS:     Okay.    Do you take any medication at this

16      time or previously for this impairment?

17            COMPLAINANT:     Yeah, I am taking medication.

18            MS. EPPS:     Okay.    What medications do you take?

19            COMPLAINANT:     I'm taking Zoloft,   .50.

20            MS. EPPS:     Anything else?

21            COMPLAINANT:     No.

22            MS. EPPS:     Do the medications have any side-effects?

23            COMPLAINANT:     You mean negative side-effects or ---

24            MS. EPPS:     Any type of side-effects.




                                                           Initia1s   ~
                                                                      RC0682
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 7 of 61



                                                                        7



1             COMPLAINANT:   Well, I mean all medications have

2       side-effects.

3             MS. EPPS:   Yes.    And have you noticed any specific

4       side-effects?

5             COMPLAINANT:   Not off the top of my head right now.

6             MS. EPPS:   Okay.    So you will provide me with

7       medical evidence for the record to support your

 8      statements about this impairment, correct?

9             COMPLAINANT:    I believe I have supported the --- I

10      have submitted already.

11            MS. EPPS: To the Agency?

12            COMPLAINANT:    Sure.

13            MS. EPPS:   Okay.    I will secure those --- that

14      documentation from them.      Who in your Agency know of this

15      impairment and when and how did they become aware?

16            REPRESENTATIVE:     Just to be clear, Ms. Epps, the

17       claims that my client has pertains to her prior

18      assignment in the Capital Case Section and I'm assuming

19       that your complaint is directed --- or your questions are

20       directed at that work setting as opposed to her current

21      work setting.

22            MS. EPPS:   Yes.

23            REPRESENTATIVE:     Okay.




                                                       Initials~
                                                                    RC0683
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 8 of 61


                                                                             8



1             MS. EPPS:      So in that     in the previous setting,

2       who in that Agency knew of your impairment and when and

3       how did they become aware?

4                COMPLAINANT:   The documentation was forwarded to

5       Charlie Kinsey, who was my direct supervisor in the

6       Capital Case Section, and I believe we --- I believe I

7       might have been required to copy or forward documentation
                                                           ~~~
8       to Human Resources, I want to say it was Rene       ~udo   or

9        --- what's the name of the other person that was talking
10      to us --- do you remember was the last name Jackson?            It

11      might've been another individual in Human Resources that

12      was --- that might've requested some documentation.

13               MS. EPPS:   Okay. And can you recall approximately

14      when this was that you provided this documentation to

15       them?

16               COMPLAINANT:   I provided documentation to them on

17      various occasions as requested, I believe beginning April

18       of this year.

19               MS. EPPS:   Okay, April of 2014?

20               COMPLAINANT:   Correct.

21               MS. EPPS:   Okay.   And for the record, describe the

22       offense --- the essential, sorry, functions of your

23       position in that employment.

24               COMPLAINANT:   I'm sorry; could you repeat that?

25       Describe the what?




                                                                        RC0684
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 9 of 61


                                                                                                   9



1             MS. EPPS:   Essential functions.
                                Sure
2             COMPLAINANT:     -.f:rJl:l.Ql.-8-a-x--} •

3             MS. EPPS:   Yeah, trial attorney position.
4             COMPLAINANT:      Initially as a trial attorney when I
5       was first hired by the Capital Case Unit, our functions

6       were really two-fold; to provide primarily capital review
7       to potential capital cases, and I'm not sure how familiar
8       you are with the process of capital litigation in federal
 -~~~'
 ~  z          but a·ll U.S.   Attorn~y       o      offices across the nation, if
10      they have a potential capital case, are required to brief

11      that case to the Capital Case Unit in Washington, we
12      would receive that documentation, we would review it,
13      evaluate it, pursue any additional factual information
14      that we thought the committee would need in order to make
15       its recommendation.         The Attorney General designates a
16       committee for the review of capital cases, the
17      documentation is forwarded to that committee, who will

18       come together, discuss the case, aolissue a

19       recommendation to the Attorney General.
                                                                Ci-            In cases where
20       the committee actually holds a committee conference ---
21       well, in all cases actually the committee issues a --- a

22       memo and we assist in the drafting of that memoranda,
                                                          litigation support
23       other than that, we provided                     l-i-:E-i-g:a-t:-:i:eas--~-t:   from
24       Washington to capital cases across the nation.                                  Once in a
25       while a particular district would request litigation




                                                                               Initials~

                                                                                                RC0685
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 10 of 61



                                                                           10



 1       support more directly and there was one attorney in our

2        unit at the time who would provide that sort of --- that

3        sort of support.     In addition, once in a while we would

4        receive inquiries from Congress of various, you know,

5        natures, and we would assist in responding to those

6        inquiries, and we would also, at times, engage in

7        training in capital litigation.      And subsequently, over

 8       the last couple of years, the unit became more and more

9        involved in litigation, and so added to our

10       responsibilities was the litigation --- actual litigation

11       of capital cases in different districts, which meant that

12       we would actually join the trial team and litigate

13       capital cases.

14             MS. EPPS:    Did your physical impairment affect your

15       ability to perform any of those functions?

16             COMPLAINANT:    Yes, definitely I think there came a

17       time where it did, yes.

18             MS. EPPS:    Okay.   You want to describe in what way

19       you were affected?
                                                               created
20             COMPLAINANT:    Again, you know, this stress    fttn:e~-ea-r-J


21       I think by my work environment was affecting my ability

22       to sleep, my ability to focus.      I was experiencing

23       continuous chest pains that led me to seek medical

24       attention.    I had at least one anxiety attack that was

25       also addressed medically.




                                                        Initia1s   ~
                                                                         RC0686
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 11 of 61


                                                                         11



1              MS. EPPS:    Okay.   And so at this particular point

2        you are recovering in part, so is it your statement that

3        you are able to perform all essential functions of your

4        position now?

5              COMPLAINANT: I am.

6              MS. EPPS:    Okay.   In your previous position, did you

7        request an accommodation in order to be able to perform

 8       your essential functions?

9              COMPLAINANT:    I did.

10             MS. EPPS: Okay. What accommodations, specifically,

11       or accommodations did you request?

12             COMPLAINANT:    Well, as I stated before, I sought

13       medical attention when I perceived, you know, symptoms

14       that were, in my opinion, serious, that were seriously

15       affecting me.     My doctors recommended that I remain under

16        --- under their care. When I was instructed to report

17       back physically to Washington, D.C., I advised them of my

18       condition, I provided medical documentation of it, and

19       requested that I be allowed to continue working from

20       Connecticut as I had in the previous three years, and

21       that was denied.

22             MS. EPPS:    Okay, so the accommodation was to be able

23        to continue in Connecticut and that was denied?

24             COMPLAINANT:    Right, so that I could continue on

25       under the supervision of my doctors.




                                                        Initials~

                                                                    RC0687
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 12 of 61


                                                                         12


1              MS. EPPS:   Okay.   And to whom did you make this

2        request?

3              COMPLAINANT:    I'd have to rely on the actual

4        electronic message that I sent, but I believe I addressed

5        it to Charlie Kinsey.     I might have copied Kevin Carwile

6        on it, or they might've both --- I would think that they

7        were both on the email.

8              MS. EPPS:   Okay.   And did you receive the negative

9        response or the denial from one or both of them?

10             COMPLAINANT:    You know, again, I would have to rely

11       on --- on the actual written record, but to the best of

12       my recollection, I believe I received it from Kevin

13       Carwile.

14             MS. EPPS:   Okay, so prior to the claims that are

15       being investigated in this case, were you involved in

16       prior EEO activity?

17             COMPLAINANT:    You mean like have I ever filed an EEO

18       complaint in the past?

19             MS. EPPS:   Yes, and also prior protected activity,

20       protecting any kind of discriminatory treatment or that

21       kind of thing in your job?

22             COMPLAINANT:    So I filed an EEO complaint against

23       the U.S. Attorney in the District of Maryland.        I want to

24       say that it was in 2002 for discriminatory action.        The

25       complaint was accepted for investigation and an




                                                        Initials   ~
                                                                    RC0688
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 13 of 61


                                                                         13



1        investigation actually took place, but the department

2        took so long to actually issue an opinion in that case

3        that by the time they did, more than a year had

4        transpired and I was actually back in Puerto Rico working

5        as an AUSA, and quite honestly, you know, despite the

6        fact that I felt that, you know, my complaints were

7        legitimate and I --- I desisted, so I didn't follow up on

8        it.

 9             MS. EPPS:   Okay, so was there no formal disposition?

10             COMPLAINANT:   I'm not. sure what you mean by formal

11       disposition in that, you know, I didn't have anyone

12       representing me in that case; I was kind of handling it

13       myself ---

14             MS. EPPS:   Uh huh.

15             COMPLAINANT:   And it was all very --- was all very

16       new to me ---

17             MS. EPPS:   Uh huh.

18             COMPLAINANT:   And a little bit difficult to navigate

19       myself.   I did have a friend of mine, who is currently

20       the First Assistant in the District of Tampa, who came

21       and assisted me during a similar interview that I had in

22       that case ---

23             MS. EPPS:   Okay.

24             COMPLAINANT:    You know what, I'm mistaken.     It

25       wasn't --- I don't believe it was during an interview.




                                                        Initial~
                                                                     RC0689
       Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 14 of 61



                                                                            14



  1        We actually engaged in mediation and I think he assisted

  2        me in the mediation process.          I had like a right to have

  3        someone within the depa!tment assist me in the mediation

  4        process and I remember him flying up for that.            And then

  5        I know that eventually I received copies of the

  6        depositions that had been conducted and after that, it

  7        was --- I just remember it being a really long time
                                any sort of
  8        before I received    E.Y.ae:l-e~]   decision by EEO ---

  9              MS. EPPS:   Uh huh.

 10              COMPLAINANT:    And I had the --- I had the option at

 11        that point I think of appealing that or filing something

 12        in court and I, quite frankly, I just --- I didn't follow

 13        up on it.

 14              MS. EPPS:   Okay.

 15              COMPLAINANT:    Other than that, I think I, just for

 16        the sake of completeness, you asked me this question ---

 17              MS. EPPS:   Sure.

 18              COMPLAINANT:     I'm not sure if this --- I'm not sure

 19        if this applies or it's responsive, but back, back, back

 20        in like I want to say 1998 I appealed a performance

 21        evaluation through the procedure in the department, if

 22        you will, for reviewing performance evaluations, and one

· 23       of the allegations that I made was discrimination based

 24        on parental status.        I was being held responsible for




                                                                          RC0690
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 15 of 61


                                                                         15



 1       things that have taken place in my cases while I was on

2        maternity leave and that was resolved in my favor.
3              MS. EPPS:   Okay.

4              COMPLAINANT:    In the department.

5              MS. EPPS:   Okay.   But let me be clear about the

6        first activity --- EEO activity you listed.       There ---

7        you didn't follow up, so there was no official resolution

 8       of it, is that what you're saying?

 9             COMPLAINANT:   Again, I think there was a resolution

10       by the department at the conclusion of the investigation

11

12             MS. EPPS:   And that was?

13             COMPLAINANT:    That they didn't agree that it was

14       based on discrimination.

15             MS. EPPS:   Okay.

16             COMPLAINANT:    The disciplinary actions that had been

17       taken by the district were not based on discrimination

18       because there wasn't anything blatantly clear, you know,

19       I don't necessarily agree with that, but I didn't follow

20       up, so I didn't appeal that decision.

21             MS. EPPS:   Okay.   Okay, I understand.     So was

22       management in the Capital Case Section aware of your

23       prior EEO activity?

24             COMPLAINANT:    The one back in like the District of

25            that I had in the District of Maryland?




                                                         Initia~
                                                                    RC0691
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 16 of 61


                                                                         16



1              MS. EPPS:   Any of your prior EEO activities, was the

2        Capital Case Section management aware of it?

3              REPRESENTATIVE:    Let me just clarify.     Our complaint

4        is alleging that the pertinent prior EEO activity where

5        Ms. Rodriguez-Coss's complaints directly to her --- her

6        supervisors regarding issues within the Capital Case

7        Section, not her prior EEO activity in other work

8        settings, but --- but --- .

9              MS. EPPS:   I assume she was --- yeah, yeah, I

10       understand.    I assumed she was getting to that ---

11             REPRESENTATIVE:      Okay.

12             MS. EPPS:   Yeah, that I assumed we were going there.

13             REPRESENTATIVE:      Okay.   Okay.

14             MS. EPPS:   Do you

15             COMPLAINANT:   Now I don't --- I don't know --- I

16       don't have any reason to believe that my supervisors at

17       the Capital Case Section were aware of a complaint I

18       filed with EEO back in 2002, I believe it was, if that's

19       what you're asking me.

20             MS. EPPS:   Oh, okay, yeah.      How about, as I said,

21       any prior activity or prior complaints that you made to

22       the Capital Case Section management, workload or those

23       kind of things?

24             COMPLAINANT:    I'm sorry.     [Unclear] can you ---




                                                         Initia1s   ~
                                                                      RC0692
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 17 of 61


                                                                                     17


                                         attorney Mr. Little
 1             MS. EPPS:   That your       E~e~-ea~]           just said that in

2        this case your prior EEO activity is the complaint that

3        you made to the Capital Case Section

4              COMPLAINANT:     Right.

5              MS. EPPS:   Regarding              so I want you to elaborate

6        on that a bit for the record, that prior EEO activity, or

7        protected activity as we [unclear] .

 8             COMPLAINANT:     Well, I mean --- okay, I'm just not

9        clear on where you want me to begin or what it is you

10       want me to address.      I mean yeah, the Capital Case

11       Section was aware of my complaints of I guess protected

12       EEO activity, I mean since at least what, 2012 --- summer

13       of 2012 I believe I complained about the fact that one of

14       my male counterparts at the Capital Case Section was

15       being accommodated and similar accommodations were being

16       denied to me, and I was clear in that why is Stan, who is

17       a White male, not being forced to travel or litigate

18       cases outside of Washington, D.C., and I am, and all I'm

19       asking is similar accommodation.                 Is that what you mean?

20             MS. EPPS: Yes.     Yes.      Any other complaints or issues

21       you raised about any of your --- your treatment as

22       opposed to treatment of others there?                    If not, we can go

23       on.




                                                                    Initia1s   ~

                                                                                   RC0693
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 18 of 61


                                                                         18



1              REPRESENTATIVE:     You're talking about on any basis,

2        parental status, disability, any of the various protected

3        categories, correct?

4              MS. EPPS:   Any       yes, any --- any complaint that

5        you are alleging as prior EEO activity in this complaint.

6              REPRESENTATIVE:     And just to further clarify,

7        whether it was a grievance, whether it was something even

 8       more informal than a grievance, whether it was something

9        more formal ---

10             MS. EPPS:   More or less informal if there was a

11       protesting of a work practice directed towards

12             COMPLAINANT:      There was --- there was recurring and

13       consistent protesting of several work practices voiced by

14       me directly to my supervisors at the Capital Case Section

15

16             MS. EPPS:   Okay.

17             COMPLAINANT:      With regards to unequal treatment in

18       the sense that, you know, a White male was being

19       accommodated and I was not.

20             MS. EPPS:   Yes.

21             COMPLAINANT:      There was clear voice of my complaints

22       to them with regards to the way that the cases were being

23       managed and the fact that they were being managed in such

24       a way that I believe it was preventing me from fairly

25       complying with my ethical obligations to represent the




                                                        Initials   ~

                                                                    RC0694
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 19 of 61


                                                                         19


1        interest of the United States.         I voiced complaints with

2        regards to the fact that, you know, I held a number of

3        personal responsibilities that were not being taken into

4        account in the case assignments.        Yes, I think that with

5        regards to the grievances and the complaints that I have

6        raised in my current formal complaint were all voiced to
                                   ccs
7        management at CCU --- fttnc-1-ea-ri.

8              MS. EPPS:   Okay. And the names of the persons you

9        identified as the responsible officials in your prior EEO

10       activity there?

11             COMPLAINANT: Again, Charlie Kinsey and Kevin Carwile

12       are the two people in management at Capital Case Section.

13             MS. EPPS:   Okay. And you would identify them as

14       responsible for the discriminatory acts that you just

15       listed?

16             COMPLAINANT:   Yes.

17             MS. EPPS:   Okay.     The first claim that was accepted

18       for investigation states that for the previous three

19       years there was a flexi-place agreement in place that

20       allowed you to work in Connecticut since that was where

21       you and your family reside.       On December 19, 2013 the

22       Capital Case Section management offered, and you

23       accepted, a flexi-place agreement that provided for two

24       months extension of the agreement --- of the agreement to

25       February 28, 2014.     In the past, the agreements had been




                                                         Initia1s   ~
                                                                      RC0695
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 20 of 61


                                                                         20


1        reviewed       or renewed for six-month period.      So can you

2        describe the series of events which led up to you being

3        placed on the flexi-place agreement that allowed you to

4        work in Connecticut for those previous three years?

5               COMPLAINANT:   Again, I provided a more clear and

6        complete narrative in writing, but I would say in I think

7        it was September --- either August or September of 2010

 8       my husband was awarded a supervisory position with the

9        FBI in Connecticut.        I provided notice --- it might've

10       been September --- it might've been a little --- I'm not

11       sure       I would rely on the written record --- but ---

12              MS. EPPS:   Okay.

13              COMPLAINANT:   I provided notice to both of my

14       supervisors that I would be --- my family would be

15       relocating to Connecticut and initially I simply

16       requested some time to pursue a position in Connecticut

17       and I was --- that was granted, or least they --- they

18       didn't voice any objections at the time, and I think it

19       was about a week before I was to actually relocate to

20       Connecticut that Charlie Kinsey asked me if I would be

21       willing to litigate the case of the United States v.

22       Aquart, which was a capital case that was scheduled to

23       begin trial in March of 2011 in the District of

24       Connecticut, and I agreed, given the fact that I would be

25        relocating to Connecticut and I would be in the district,




                                                        Initia1s   ~
                                                                    RC0696
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 21 of 61


                                                                            21


 1       so arrangements were made for me to have an office at the

2        U.S. Attorney's office in Connecticut, specifically in

3        Bridgeport.    I joined the trial team of the United States
                                                 ~ft56i.S+Att    United States
4        v. Aquart and began assisting the     .t.e6 assieeing   fufte±e-a~~

 5       Attorneys from Connecticut and preparing that case for

6        trial for both the guilt phase and the penalty phase of

7        the trial.     I think the understanding eventually that was

 8       reached was that I would continue to work as a trial

9        attorney for the Capital Case Section while I worked in

10       United States v. Aquart and at the conclusion of the

11       case, and I'm talking these are the expectations that we

12       had when the --- when that relationship began --- the

13       expectation was at the conclusion of the case I would

14       join the U.S. Attorney's Office for the District of

15       Connecticut.    During the course of the trial I had been

16       going through the interview process and was actually

17       offered a position, but it didn't meet my needs, so I

18       actually declined, so when the case ended in June of 2011

19       I called Kevin Carwile and I requested, you know, a

20       reasonable amount of time, I forget right now how much

21       time I might've requested, but it probably would have

22       been a couple of months, to seek other employment prior

23       to actually tendering my resignation to the Capital Case

24       Section, and it was at that time that Kevin Carwile said,

25       "Well, you know, we're still under hiring --- a federal




                                                       Initials~
                                                                         RC0697
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 22 of 61



                                                                         22



1        hiring freeze, and if I lose you, I will not be able to \,/'
                                                              ~~-~       ~
2        replace you, and I would like you to consider        ~   i~   on
3        with the Capital Case Section while telecommuting from
4        --- from Connecticut."      And I accepted, and so that's
                                                         ~e
5        really the offer and acceptance that gave tuncleaL} to

6        the flexi-place agreement that was put in place that was

7        subsequently renewed every six months up to December of
 8       2013.

9                MS. EPPS:   Okay. And in this initial flexi-place
10       agreement, was there a provision or were there any
11       specific provisions for when and how it would be
12       extended?

13               COMPLAINANT:   Well, yeah, I think it --- well,
14       obviously the document speaks for itself because it's a
15       written document, but it was extended every six months
16       and the agreement itself states that it cannot be
17       cancelled or withdrawn expect for a lack in performance,
18       but obviously, it's more specific than that, but
19       basically any reason to either cancel the agreement or
20       modify it had to be based on a lack of performance.

21               MS. EPPS:   Okay.   Was there an agreed upon amount of
22       time it would always be extended?

23               COMPLAINANT:   Again, I think
24               MS. EPPS:   A month, two months, or




                                                       Initials~
                                                                       RC0698
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 23 of 61


                                                                         23


 1            COMPLAINANT:    No, it was six months.     It was from~

2        the time that it began to December of 2013, it was every'-1'

3        six months and it was very matter of course, you know,

4        here's the, you know, renewal of your agreement, I signed

5        it and I sent it back.

6             MS. EPPS:    Okay.

7             COMPLAINANT:    And can I just take this opportunity

 8       to clarify something you stated earlier in one of your

 9       questions, when you referred to the flexi-place agreement

10       that was extended in December 19, 2013 and that I

11       accepted, I would take issue with the words "I accepted"

12       in the sense that when I received that agreement and

13       noted that it was only a two-month extension, I

14       immediately questioned that to my immediate supervisor

15       Charley Kinsey and expressed my dissatisfaction with that

16       and also expressed the fact that there was no reason, as

17       envisioned by the agreement, that would or should've

18       caused the reduction in the term.      I had approved annual

19       leave, I believe I think it was a week because it was

20       nearing the holidays because I didn't get a response from

21       my immediate supervisor right away, and I received a

22       response, and again, this is --- I'm going on my memory

23       right here, so --- but I believe I received a response
24       from Human Resources, rather than my supervisor, about

25       the fact that they had discretion to reduce the term,




                                                        Initia1s   ~

                                                                    RC0699
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 24 of 61


                                                                         24



1        which I was disputing, and when I come back to the

2        office, I think it was January 2nd or 3rd, I get an email

3        from Kevin Carwile basically saying, "You haven't signed

4        your flexi-place agreement.       If you don't sign it, you

5        are not authorized to continue working from Connecticut."

6        And I don't recall the exact language that he used, but I

7        essentially felt like I either signed it or I would be

8        declared AWOL because I wasn't, you know, it was

9        something like if you don't sign it, your official

10       workstation then is 1331 F Street N.W., Washington, D.C.

11       So I didn't really have a choice in signing that

12       agreement.   I felt like it was what I needed to do in

13       order to continue the discussion with Human Resources

14       with regards to what was --- what was going on.

15            MS. EPPS:    So you signed it under duress, is that

16       what you're saying, because you ---

17             COMPLAINANT:   Yeah.

18             MS. EPPS:   Okay.   Okay.    And that was Mr. Carwile

19       that offered you the two-month extension?

20             COMPLAINANT:   Well, I think the email in December

21       came from Charlie.

22             MS. EPPS:   Okay.

23             COMPLAINANT:   But I assume it has, you know, Mr.

24       Carwile is the Chief of the Unit, so ---

25             MS. EPPS: So he would, yes, be involved.




                                                        Initiais   ~
                                                                    RC0700
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 25 of 61


                                                                                    25



1             COMPLAINANT: Right.

2             MS. EPPS:    And what was the reason given for the

3        two-month extension rather than the regular six months?

4              COMPLAINANT:   There was no reason given.

5             MS. EPPS:    Okay.    And so you signed that agreement

6        because you were under           you felt you had no choice,

7        that you wanted to keep your position?

 8             COMPLAINANT:   I had to continue working, right.

 9             MS. EPPS:   Yes.    Yes.    Okay.      And what adverse

10       effect did that two-month extension have on you?

11             COMPLAINANT:   What adverse effect?

12             MS. EPPS: Adverse.
                                                   think it escalated ...
13             COMPLAINANT:   I --- I --- I a4-Gln't             get--f.~nelear].   I

14       mean I had been under an incredible amount of stress,

15       work-related stress to begin with, you know, I had in

16       that previous fall I was practically handling United

17       States v. Stone on my own because my co-counsel in the

18       Eastern District of California had resigned her position

19       as a Assistant U.S. Attorney, they assigned someone who

20       had just joined the U.S. Attorney's office as a federal

21       prosecutor, so I had basically a new federal prosecutor

22       assigned to my case with no prior capital experience, so

23       for the initial six months I was really handling all the

24       motion practice in that case.        At the same time, I'm

25       handlinglevidentiary hearing in Burlington, Vermont on




                                                                     Initia1s   ~

                                                                                RC0701
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 26 of 61


                                                                         26


                                                                         ~JS~
 1       the other side of the country on a rather      complicated~

2        to i9-J so I was already under, in addition to my Capital

3        Case review work, so I was already under a significant

4        work-related stress and now I'm looking --- I'm dealing

5        with the possibility that my Chief is contemplating

6        terminating my employment for --- for completely

7        unjustified reasons because the way I looked at it, if my

 8       flexi-place agreement was cancelled, that would be a

9        constructive firing as I was physically unable to report

10       on a daily basis to Washington, D.C.      So it had an

11       incredible adverse effect on me and it's what then led me
                               g~~~
12       to begin seeing my    ~.wlG~]   because I wasn't sleeping, I

13       was having chest pressures, and not concentrating, I, you

14       know, it was --- yeah, it definitely had an adverse

15       effect on me.

16             MS. EPPS:   Okay, but you said they gave absolutely

17       no reason for changing the flexi-place agreement?

18             COMPLAINANT:   Right, I think that email is part of

19       the record in this case and it does not express a reason

20       for reducing the flexi-place agreement.       My --- yeah, no,

21       they gave no reason.

22             MS. EPPS:   Okay.   To your knowledge, has other

23       persons in --- in that Capital Case Section management,

24       or under that section been placed on flexi-place

25       agreements?




                                                        Initia1s   ~
                                                                    RC0702
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 27 of 61



                                                                         27



1             COMPLAINANT:    To my knowledge, the only person who

     ~ has
                     •
                     I
2            a flex-place agreement is Rich Burns that I know of
                     ~
3            as far as I know.

4             MS. EPPS:    Okay.

5             COMPLAINANT:    I know that Rich works from home at

6        least one day a week.

7             MS. EPPS:    And that's a flexi-place agreement?

 8             COMPLAINANT:   That's a flexi-place agreement,

9        correct .

10            MS. EPPS:    Okay.   Do you have any idea how

11       frequently his --- is it reviewed, if it has been

12       extended, or any --- any information about how he's been

13       treated in the flexi-place agreement?

14             COMPLAINANT:   No, I don't.

15             MS. EPPS:   Okay, I was just wondering.     So you are

16       alleging those actions in claim 1 were taken based on

17       your sex?

18             COMPLAINANT:   I'm sorry. What ---

19             MS. EPPS: You allege on the basis of the first claim

20       that we just went through about the flexi-place agreement

21       and the change, claim 1, you allege that those actions

22       were taken based on your sex, your national origin, etc.

23       The bases that you allege those actions were taken.

24             REPRESENTATIVE:     Well, I --- I      I think just to

25       clarify, I think the complaint says the initial grounds




                                                        Initia1s   ~
                                                                    RC0703
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 28 of 61



                                                                           28



1        that she complained were based on sex, parental status,

2        etc.

3               MS. EPPS:   Yes.

4                           .1t4-
                REPRESENTATIVE:       And that the flexi-place agreement


:~
         was not renewed ~retaliation for those initial

         complaints, I think that's --- that's what we have set

7        forth in our complaint.

 8              MS. EPPS: All of the claims that were accepted, at

 9       least the acceptance letter that I got said that they

10       were accepted on the basis of sex, national origin,

11       disability status, etc., etc., so I'm just asking about

12       if those are your allegations that that --- that the

13       actions in claim 1 were taken based on your client's sex,

14       national origin, etc. --- parental status, etc.          So that

15       is correct?

16              REPRESENTATIVE:        If we qualify that it was either

17       because of sex or in reprisal for her complaint about sex

18

19              COMPLAINANT: Right.

20              REPRESENTATIVE: Right.

21              MS. EPPS:   Okay, so you allege that those actions

22       were taken in reprisal for complaints about being treated

23       differently based on your sex?

24              COMPLAINANT:        Right, in part, and for --- and for

25       other complaints, absolutely.          If you look at the email




                                                          rnitials   ~
                                                                      RC0704
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 29 of 61


                                                                         29



1        where they forward the flexi-place agreement in December,
2        they offer no reasons for the reduction, and I challenge
3        that, and yeah, I would --- I would say that the reason

4        the agreement was reduced was because of my recurring
5        complaints about sex discrimination, about the fact that

6        I was not being permitted to --- my caseload was not
7        allowing me represent the government ethically or
 8       effectively in all of my cases.      Just as an example, I
9        continuously complained that 60,000 pages of discovery
10       had been produced in United States v. Fell, the Vermont
11       case that I was handling and I'd not had time to review
12       that discovery.    I'm not sure if you're familiar with the
13       Stevens case, but you know, in the Stevens aftermath,
14       that was something that was weighing incredibly heavily

15       on my mind and that I was continuously raising to my
16       supervisors in Washington, so yes, definitely.
17             MS. EPPS:   Okay, here's the crux of making the ---
18       making a successful allegation is you say sex, national
19       origin, parental status, etc. is the bases for the

20       retaliation, you have to tell me how --- what was your
21       complaint based on sex?     Was that'because a male was

22       treated differently, if so, who?      Someone. of a different
23       national origin was treated differently, who?        So that's
24       what I'm trying to get to now.




                                                        Initia1~
                                                                    RC0705
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 30 of 61


                                                                         30



 1             COMPLAINANT:    I'm sorry; can you repeat that?     I'm

2        sorry; I apologize.

3              MS. EPPS:   Okay.   To make the allegations that the

4        basis for the reprisal was sex, was that what you just

5        said to me, that you cite those actions taken against you

6        in claim 1 that they were taken in retaliation for your

7        complaints and the bases for that retaliation was your

 8       sex, your national origin, your parental status ---

9              COMPLAINANT:    Right.

10             MS. EPPS: Is that correct?

11             COMPLAINANT:    Right.

12             MS. EPPS:   How?    How does the --- how did your sex

13       play into that?      How did your national origin?    You're

14       saying someone was treated differently or you were

15       treated differently based on your sex?

16             COMPLAINANT:    Well, so I have a White male colleague

17       who has no minor children who is being accommodated and

18       not being obligated or required to travel across the

19       country and litigate capital cases, you know, anywhere,

20       while I was.

21             MS. EPPS:   Okay. And this person is?

22             COMPLAINANT:     Stan --- Stan Rothstein, I've

23       identified him previously in the papers.




                                                        Initia1s   ~
                                                                    RC0706
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 31 of 61


                                                                           31



 1             MS. EPPS:   Okay.   Okay, any additional information

2        that you haven't already provided in support of those

3        allegations of discriminatory treatment?
4              COMPLAINANT:    Well, I believe that's what this

5        process is all about, right?        About uncovering additional

6        instances?

7              MS. EPPS:   Yes, is there anything else that you want

 8       to provide now?      Yes, there will be a lot of documents

9        review, other interviews, etc.        I'm simply asking if

10       there's anything you want to provide in addition to what

11       has already been provided.      Oh, hold on one minute.       I

12       have to take another tape.      I'm sorry; hold on.       Okay.

13       Just after each claim I will ask if there is anything

14       additional that you want to add.

15             COMPLAINANT:     No, not at this time I think.

16             MS. EPPS:   I'm sorry; I didn't hear you.

17             COMPLAINANT:     No, not at this time.

18             MS. EPPS:   Hello, I'm sorry. Somehow I think I

19       must've hit a wrong number or something when I was

20       changing the tape.      Okay, so what I was saying that after

21       each claim, I'll just ask you if there's anything

22       additional you want to add.         That's the only ---

23             COMPLAINANT:     All right.     I guess the only other

24        thing that I would like to clarify my allegations is that

25        --- and the reason why I think Stan's treatment is so




                                                         Initia1s~
                                                                       RC0707
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 32 of 61


                                                                                   32



1        relevant is that both Stan and I were hired previously to

2        the new mission, or the new so-called mission of the

3        Capital Case Section.       In other words, we were both hired

4        on the --- I'm sorry; can we take just one brief second

5        because I'm getting a call from my daughter's school?

6              MS. EPPS: Oh, sure, you want to stop for a minute?

7              COMPLAINANT:      Two seconds, yes.

8              MS. EPPS:   Okay, we'll go off the record.

9              COMPLAINANT:      Are we back on the record?

10             MS. EPPS:   Now we are.

11             COMPLAINANT:      Yeah, sorry about that.        So is that we

12       were both hired under, you know, the Capital Case Unit

13       when there was no requirement that we travel.

14             MS. EPPS:   Oh, okay.        Okay.   And so he is like still
                                                        yours has been changed
15       functioning under that agreement when you are [unelear]?

16             COMPLAINANT:      Correct.

17             MS. EPPS: Okay.      Okay, then claim 2 is on January 7,

18       2014 CCS management issued you a written reprimand,                 so

19       please describe, for the record, the nature or series of

20       events that resulted in CCS management issuing you this

21       reprimand.

22             COMPLAINANT:      Well, I don't know.

23             MS. EPPS:   Oh.

24             COMPLAINANT:      The reprimand was a complete shock to

25       me.




                                                             Initial•      ~
                                                                                 RC0708
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 33 of 61


                                                                         33



 1             MS. EPPS:   Okay.
2              COMPLAINANT:   So my reaction is --- well, I can
3        surmise why CCS issued me a reprimand.       I think it was

4        retaliative in nature.     I am --- I am complaining rather

5        loudly, for lack of a better word, that my flexi-place

6        agreement has been reduced improperly and in violation of

7        the very terms of the agreement itself because no --- no

 8       fault in my performance had been cited, no lack in my
 9       performance had been cited, and what I do is when I'm

10       when I feel like I'm forced to sign on to this two-month

11       agreement is I reach out to Human Resources in an effort

12       to resolve the situation, if you will.       So I reach out to

13       Human Resources and I request their assistance, and what

14       I am expecting is to have someone from Human Resources,

15       and my supervisors, and myself sit down and discuss this

16       issue, and in anticipation of that meeting I forward a
17       written document, an email to the representative from the
18       Human Resources office.      I actually, you know, and I

19       think now that I'm refreshing my memory, I had actually

20       reached out to    ~rl   --- what's his last name --- I          ~
21       actually reached out to the head of --- or the person I

22       perceived to be the head of Human Resources --- I want to

23       say it was sometime in November, and I had made him aware

24       of the situation, made him aware of the fact that I was
25       being placed in a --- in a rather difficult position




                                                        Initials~
                                                                    RC0709
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 34 of 61


                                                                         34



1        professionally because I have assignments in opposite

2        sides of the country, I've had so much work that I felt I

3        was not being able to comply ethically with my

4        obligations, and I also had this assignment in California

5        that was difficult to manage, given my personal                  J::::i----
6        situation, and he --- now I'm refreshing my      'w~~---~
7        he agreed to speak to my management about that because

 8       one of the options that we were exploring was my

9        transferring to another unit within the Criminal

10       Division, and Carl said "I" --- "I wouldn't want Kevin to

11       lose an attorney.     Let me see if --- let me reach out to

12       Kevin and see if we can work this out."       And it was

13       subsequent to that conversation that I get an email from

14       Rene Caputo in Human Resources, and I was initially happy

15       to hear from her, and I sent her basically an electronic

16       email setting forth the background of --- of the whole

17       situation and all of my concerns, and immediately after I

18       do that, that I'm reprimanded.

19             MS. EPPS:   Okay.   Okay. And were you given a reason

20       for this reprimand?                             ~
21             COMPLAINANT:    I think it's   ~rl M~hino    --- I'm

22       sorry; Carl Machine.      The reason stated in the reprimand,

23       and again, obviously that's a written document that will

24       speak for itself, but the reason provided on the

25       reprimand was my refusal to litigate United States v.




                                                        Initia1s   ~
                                                                      RC0710
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 35 of 61



                                                                         35



1        Stone, and I took great issue with that because I never

2        refused to litigate United States v. Samuel Stone. This
3        is the case out of the Eastern District in California.
4              MS. EPPS: Yes.
5              COMPLAINANT:     I requested that it be reassigned.       I
6        complained that it was difficult eventually to handle

7        that case and United States v. Fell in Vermont, but I

8        never refused to litigate the case.      I litigated the
9        case, I investigated it, I prepared witnesses, I

10       responded to every motion that I had to respond to, I
11       litigated the case as well as I would have had I not
12       complained, so there's a different between complaining in
13       the sense that I'm requesting that it be reassigned and
14       refusing to litigate the case, if you will.

15             MS. EPPS:   Oh, okay.    So you're saying you didn't

16       refuse to litigate it because you did all the work, but
17       they said that you refused to go to California to
18       litigate it?
19             COMPLAINANT:     I never refused to go to California to
20       litigate the case, never.
21             MS. EPPS:   Okay.
                                                       end up going
22             REPRESENTATIVE:     Jackie, didn't you funcrecrr] to

23       California on that case approximately half a dozen times?




                                                        Initia1~
                                                                      RC0711
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 36 of 61


                                                                         36



 1             COMPLAINANT:    I don't have the number in front of

2        me, but I would say that I went to California more than
3        half a dozen times.

4              REPRESENTATIVE:    Okay.

5              MS. EPPS:   Okay, and so was there a trial?      Did you

6        do a trial for this case?

7              COMPLAINANT: No, the trial was --- at the time, the

 8       trial was scheduled for September of 2014, which is why

9        in the fall of 2013 I bring this          I had been bringing

10       it up to my management since the case was assigned.

11             MS. EPPS:   I understand.     I understand.   Did you

12       litigate the case

13             COMPLAINANT:    I'm sorry.

14             MS. EPPS:   I was just asking if there was a trial

15       that you participated in.

16             COMPLAINANT:    No, the trial was scheduled for

17       September 2014.      I participated in status conferences and

18       so forth, but the trial has yet to be held in that case.

19             MS. EPPS:   Okay. And so you gave to the Capital Case

20       Section management a written response to that reprimand?

21             COMPLAINANT:    Yes, I did.

22             MS. EPPS: And they said --- and how did they

23       respond?
24             COMPLAINANT:    When you file a grievance to reprimand

25       that has been issued, it goes to the --- one of the




                                                        Initia1s   ~
                                                                       RC0712
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 37 of 61


                                                                         37



1        Assistant --- one of the Deputy Assistant Attorney

2        Generals for the Criminal Division.        In this case it was

3        assigned to Kevin --- Ken Blanco ---

4              MS. EPPS:   Uh huh.

5              COMPLAINANT:   And he just denied my grievance in a

6        single page, one paragraph letter.

7              MS. EPPS:   Okay.      To your knowledge, has any other

8        persons under that Capital Case Section management

9        received reprimands for the same or similar offenses?

10             COMPLAINANT:    Have received reprimands?     I didn't

11       catch the last part of your ---

12             MS. EPPS:   Oh, I'm just --- under the same or

13       similar offenses that they alleged, the refusal to

14       litigate.   [Unclear] .

15             COMPLAINANT:    No.

16             MS. EPPS: Okay, so given this claim to the written

17       reprimand, you're saying as in claim 1 that that action

18       was taken in retaliation for your grievances based on

19       that national origin, parental status, etc. before?

20             COMPLAINANT:    Yes.

21             MS. EPPS:   Okay.      Anything additional you want to

22       add to that particular issue of the written reprimand?

23             COMPLAINANT:    No.

24             MS. EPPS:   Okay.      The third accepted claim was that

25       on February 24, 2013 the CCS management notified you that




                                                        Initia1s   ~
                                                                    RC0713
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 38 of 61


                                                                         38



1        the flexi-place agreement would not be renewed and you

2        would be required to report to work in Washington, D.C.

3        beginning March 31, 2014.       So who notified you that the
4        agreement would not be renewed?
5              COMPLAINANT:    I believe it was Kevin Carwile.
6              MS. EPPS: Okay.      Did he give any reasons?

7              COMPLAINANT:    I don't have his email in front of me,
 8       but I believe he said that I was --- that he viewed that

9        I was in need of more closer supervision.
10             MS. EPPS:   Okay.    And what was the adverse effect
11       that this had on you?
12             COMPLAINANT:    I was being fired, you know, and in
13       all      in practical purposes, you know, I was being
14       fired.   I'm a resident of the State of Connecticut, you

15       know, this is where my family lives.       I have three minor
16       children.     I don't think that Mr. Carwile expected that I
17       be able to sell my house and relocate my family to
18       Washington, D.C. in 30 days, so I think he was
19       constructively firing me.
20             MS. EPPS:    Okay.    Do you have any knowledge ---
21             REPRESENTATIVE:      I'm sorry; Jackie, could you
22       address the issue of closer supervision that was
23       expressed and how you essentially --- your moving to D.C.
24       was made essentially no differen/ than how you were
25       supervised?
                                             u~


                                                        Ini tia1s   f:--
                                                                     RC0714
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 39 of 61


                                                                         39



1              COMPLAINANT:   Yeah, sure, I mean the other reason I

2        felt that that was essentially a constructive firing is

3        that what he would        what he was doing made no sense.
4        He ended or terminated my flexi-place agreement, which

5        technically had only been extended through February 29th,

6        he is indicating that he is doing that because I'm in

7        need of closer supervision, but he allows me to stay in

 8       Connecticut through the end of March so that I can go to

9        Burlington, Vermont and handle an incredibly important

10       evidentiary hearing in United States v. F~:~~ut any              d"
11       supervision and conclude a number of the      ailtr•Q••••   that I

12       was conducting in New York without any supervision, and

13       as Kevin just said, you know, even if I --- what we do,

14       we do, you know, most of the work that I do when I'm in

15       my office or did when I was in my office with the Capital

16       Case Section I did on my desk on the computer, and what I

17       would do is write committee members, respond to motions,

18       conduct legal research, and I didn't have any direct

19       supervision in that sense from my --- from my immediate

20       supervisor Charlie Kinsey.      If Charlie wanted to look at

21       a draft of a motion, I would email it to him .       Even if I

22       was in Washington, D.C. sitting at a desk, I would email

23       him the motion.

24             MS. EPPS:   Okay.




                                                        Initia1s     ~
                                                                       RC0715
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 40 of 61


                                                                         40



1              COMPLAINANT:    There was no closer supervision that

2        he could provide to me if I were sitting at a desk in

3        Washington, D.C. as opposed to sitting at a desk in

4        Connecticut, so ---

5              MS. EPPS: Okay.

6              COMPLAINANT:    And the --- and the field work that I

7        do is --- it's somewhere else.      It's wherever I'm

 8       assigned to a case; it's in Rhode Island, it's in

9        California, it's in Vermont. And in the years that I was

10       litigating cases in Rhode Island, in Vermont, in

11       California, and Connecticut, not a single time, not a

12       single day did --- did either one of my supervisors

13       travel to supervise me or observe my work.

14             MS. EPPS:   Okay.   So had you heard or do you have

15       any knowledge of other persons under his management that

16       had received similar treatment such as this, that their

17       flexi-place agreement would not be renewed?

18             COMPLAINANT:    I don't --- I don't know of any other

19       person that had a flexi-place agreement or they were

20       working from out of state.

21             MS. EPPS:   Okay.

22             COMPLAINANT:    But I guess Rich technically was

23       working out of state because he lives in Virginia and

24       works in Washington, D.C.      But I don't know of anyone who




                                                        Initia1s   ~
                                                                    RC0716
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 41 of 61



                                                                             41



1        had a flexi-place agreement where they were telecommuting

2        100 percent of the time from another state.

3              MS. EPPS:   Okay.
                                                  Capital Case
4              COMPLAINANT:   At least with the    f~ntJ-1-ea~]   Section.

5        I suspect there are a number of people in the department

6        in other sections who have done that.

7              MS. EPPS: Okay.     So you are also alleging that the

 8       above --- that action was taken based in retaliation for

9        the complaints you based --- you made about differential

10       treatment based on your sex, national origin, parental

11       status?

12             COMPLAINANT:   Yes, absolutely.    By that time I had

13       filed a formal grievance that had not yet been decided, I

14       had filed an EEO complaint that was pending, and before

15       either one of those matters are addressed, my flexi-place

16       agreement is terminated.

17             MS. EPPS:   And you also allege that action was taken

18       in retaliation for grievances made based on your

19       impairment?    Is that part of the allegations?

20             REPRESENTATIVE:     Just --- just to be clear, I think

21       in our complaint we alleged that Ms. Rodriguez Coss

22       complained that she couldn't move to D.C. because of the

23       impairment and that --- those requests were disregarded.

24             MS. EPPS:   Okay.    It was about the move could not be

25       made because of her impairment?




                                                          Initia1s   ~
                                                                        RC0717
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 42 of 61



                                                                         42


1              COMPLAINANT:    Right.       Right.

2              MS. EPPS:   Okay.     Anything additional you want to

3        add about that?

4              COMPLAINANT:    No.    No.

5              MS. EPPS:   Okay.     The next claim was that CCS

6        management denied your request to use annual leave on
               1~
7        April-3, 2014 and placed you on AWOL status.       Also placed

8        --- management also placed you on AWO --- AWOL status on
9        April 3, 2014 even though you had worked part of the day

10       in Connecticut.      Who specifically denied your request to

11       use annual leave on April l 8 t?

12             COMPLAINANT:    All of the, if I remember correctly, I

13       think those communications came from Charlie Kinsey.

14             MS. EPPS:   Okay. And when did you make that request?

15             COMPLAINANT:     Those requests are made out

16       electronically.

17             MS. EPPS:   Okay.     But was ---

18             COMPLAINANT:     Of the new electronic system, so I

19       could --- I could go back and see when exactly the

20       requests were made, but it would've been close to the

21       date that I was requesting.

22             MS. EPPS:   Close to the date, but before the date?

23             COMPLAINANT:     Yeah, I think I made it before the

24       date, yeah.




                                                        Initia1s   ~
                                                                     RC0718
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 43 of 61



                                                                          43



1                MS. EPPS:   Okay.   And the denial came when?     When

2        did you receive the denial, before or after that date?

3                COMPLAINANT:   I really would have to go back and

4        just review the emails because whenever a request is

5        denied I get an email notification of the action taken by

6        my supervisor, so I, rather than speculate, I'd really

7        rather just rely on that record.

 8               MS. EPPS:   Okay.   Go ahead.

9                COMPLAINANT:   I don't think it was denied right

10       away.

11               MS. EPPS:   By right away, you mean you don't believe

12       it was denied before April 1st?

13               COMPLAINANT:   Right, I'm trying to remember exactly

14            and I'd have to, if you want me to specifically

15       answer the questions, I can --- I'd have to go back to my

16       agenda.

17               MS. EPPS:   Well, ---

18               COMPLAINANT:   I believe [unclear]   --- oh, I'm sorry.

19               MS. EPPS: Go ahead.

20               COMPLAINANT:   I know --- I know --- I know at least

21       that on March 31st I had a medical appointment and I

22       believe

23               MS. EPPS:   April 1st --- oh, March 31st?

24               COMPLAINANT:   Right.   Right, so on March 31st I had a

25       medical appointment I requested sick leave and it's for




                                                        Initials   ~
                                                                      RC0719
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 44 of 61


                                                                              44



1        April    1st   that I request annual leave.       I don't remember

2        exactly when I received the denial of that annual leave
3        for April      1st.

4                MS. EPPS:       Okay.   I will --- I'm sure I can get that

5        information.          Do you recall what reasons were given for

6        the denial?

7                COMPLAINANT:        I think they declared me AWOL.

 8               MS. EPPS: Yes.

9                COMPLAINANT:        Yeah, so I think

10               MS. EPPS:       And that's why they

11               COMPLAINANT:        My failure to report to Washington,

12       D.C. physically

13               MS. EPPS:       Oh, okay.

14               COMPLAINANT:        I think that's what --- but you know,

15       I had annual, I had --- not only did I have annual leave,

16       I had use or lose leave and I had comp time, and you

17       know, I've never before been denied annual leave.

18               MS. EPPS:       Okay.

19               COMPLAINANT:        You know, generally, and all were, the

20       way we --- the way it's handled is we're attorneys, you

21       know, we're      prof~ssionals,     we handle our cases, and we
                                 I


22       understand we can take annual leave and it won't affect

23       our work, and we are generally permitted to do that.

24               MS. EPPS:       Okay.   So now on April   3rd   you had worked

25       part of the day and they still placed you on AWOL status?




                                                                 Initials   ~
                                                                            RC0720
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 45 of 61


                                                                               45



1                COMPLAINANT:         Correct.

2                MS. EPPS:         So they knew you had worked part of the

3        day?

4                COMPLAINANT:         Correct.

5                MS. EPPS:         Were you authorized to work part of that
                in Connecticut
6        day f..:wl.o.l.&&i;:] ?

7                COMPLAINANT:         Well, again, if you ask CCS

8        management, they're going to tell you that I was not

9        authorized, but I was ordered to report to Washington,

10       D. C . on March 31st.

11               MS. EPPS:         Okay.

12               COMPLAINANT:         But there were some pending matters

13       that were of extreme importance that I was handling and

14       that's what I was dealing with.

15               MS. EPPS: Okay, so that was why you ---

16               COMPLAINANT:             I mean they knew I was in the --- they

17       knew I was in the office, so.

18               MS. EPPS:         Okay.     And you were there because of

19       these important matters that had to be taken care of?

20               COMPLAINANT:         That's right, just like a very

21       important telephone conference call the afternoon of
22       Thursday, April           3rd.

23               MS. EPPS:         And had that --- so you say they knew

24       that you were in the office and you had those issues to

25       take care of?




                                                                Initia1s   ~
                                                                             RC0721
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 46 of 61


                                                                          46



1              COMPLAINANT:    Absolutely.

2              MS. EPPS: Okay. And they just knew, because they

3        were supervising you in that case, how would they know?

4        How would you know that they knew?

5              COMPLAINANT: Well, they knew because there had been

6        communications back and forth and I had made them aware

7        of the things that I needed to take care of, so they were

8        aware.

9              MS. EPPS:   Okay.      Did this being placed on AWOL

10       status result in a loss of pay for you?

11             COMPLAINANT:    Yes.

12             MS. EPPS:   Okay. And what was the amount of the loss

13       of pay?

14             COMPLAINANT:    That I wasn't paid for those days.

15             MS. EPPS:   Okay.      And is there an amount that you

16       can attach to that?

17             COMPLAINANT:    Whatever my pay is.

18             MS. EPPS: Okay.

19             COMPLAINANT:    For that day. I don't know that I've

20       actually sat down and figured out my pay per day, but
                               works out to be
21       whatever that that wa-s----Ennd::ea·:i:·j based on my annual

22       salary.

23             MS. EPPS:   Okay, so that would be two days, April 1,

24       2014 and April 3, 2014?

25             COMPLAINANT:    Right.




                                                          Initia1s   ~
                                                                        RC0722
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 47 of 61



                                                                           47



1              MS. EPPS:    Okay.   Were any further actions taken

2        that resulted from your being placed on AWOL status?

3              COMPLAINANT:    Yeah, I think --- I think initially

4        then I'm also denied leave, so the situation had an

5        incredibly adverse effect on my health, my physicians,

6        both my generalists and my cardiologist recommend that I

7        go on leave, so I request sick leave initially --- I want

8        to say it was initially denied. There was one other week

 9       that was --- I'm not sure if it was April        7th,   and again,

10       I'd have to go back and rely on my records, but I think

11       it was the week of April      7th   that I was initially denied

12       and I don't receive that pay when I was supposed to, and

13       then it was subsequently approved.

14             MS. EPPS:    Okay, yeah, I saw that.      Okay.    Would you

15       have any knowledge of other persons under ccs management

16       that had been placed on AWOL status for the same or

17       similar reasons?

18             COMPLAINANT:    I don't.

19             MS. EPPS: Okay.      And are you also alleging that that

20       action --- those two actions were taken in retaliation

21       based on your --- for your complaints about differential

22       treatment based on your sex, national origin, parental

23       status, and impairments, and taken in retaliation for

24       those?

25             COMPLAINANT:    Yes, I am.




                                                          Initials   ~
                                                                        RC0723
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 48 of 61



                                                                           48



1                MS. EPPS:    Okay.   Anything you want to add?

2                COMPLAINANT:    Not in addition to the formal written

3        statement that I submitted.
                                              The Fifth
4                MS. EPPS:    Okay.   Okay.   Wt"ttr--ttris claim is that on

5        April    2nd   the CCS management cancelled your enrollment in

6        training at the National Advocacy Center in South

7        Carolina.       So what's the nature and purpose of that

 8       Advocacy Center?

9                COMPLAINANT:    What's the nature of it?      The National

10       Advocacy Center is the organization on behalf of the

11       Department of Justice that organizes and provides

12       professional training for the Department of Justice

13       attorneys.       We are required annually to receive a certain

14       number of hours of training with regards to Discoveries,

15       sexual harassment, ethics, and there's some trainings

16       that we take, like computer security, like through the

17       computer.       We're also required to maintain good standing

18       with our individual Bar Association Bar Admissions.

19               MS. EPPS: Uh huh.

20               COMPLAINANT: So every year we have to sign a

21       certification I'm in good standing with my bar, and each

22       individual bar has continuing education requirements of

23       attorneys, and the Department of Justice facilitates that

24       training that help us comply with those requirements.             So

25       when you attend a training at the continuing --- at the




                                                           Initia1s   ~

                                                                        RC0724
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 49 of 61


                                                                         49



1        NAC, at the National Advocacy Center, they will ---

2        they're very well aware of the requirements of the

3        different bars for the different states, they facilitate

4        the forms, they provide those bars with the materials.

5        Most of the time the trainings that they provide are pre-

6        approved by those bars just to facilitate our compliance

7        with our bar requirements.

 8             MS. EPPS: Okay.

9              COMPLAINANT:    And so in my particular bar, I have

10       every two years I need 24 hours of continuing legal

11       education.    I had been previously scheduled to attend

12       that training, which was pre-approved by my bar back in

13       July, I think it was, of 2013, but because --- I don't

14       know if you remember, we had that whole furlough

15       situation ---

16             MS. EPPS:   Uh huh.

17             COMPLAINANT:    Because of that, a number of trainings

18       were cancelled.      You know what?   I think it might've been

19       April, and then it was cancelled because of the furlough,

20       and then it was rescheduled at the end of July 2013 and I

21       could not attend because I believe I had pre-scheduled

22       annual leave, so this was the next time that it was being

23       held, and because I had been unable to attend previously

24       due to the cancellation, they were going to make sure

25        that I would get there, which they did, and I had all of




                                                        Initials   ~

                                                                    RC0725
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 50 of 61


                                                                          so


1        the travel plans ready to go.         And I think it was like
2        the Friday before April      7th   or something I was told that I

3        would not be permitted to attend the training because I
4        had failed to report to Washington.
5              MS. EPPS:    Oh, okay.

6              COMPLAINANT:    And so if I wanted to attend the

7        training, I had to travel out of Washington, D.C.          I
 8       couldn't travel out of Connecticut.
9              MS. EPPS:    Okay.    Did management enroll you, do you
10       enroll yourself; how does that happen?

11             COMPLAINANT:    I request enrollment and management
12       approves it.

13             MS. EPPS:    Okay.   And who specifically cancelled
14       your enrollment?
15             COMPLAINANT:    I believe I received an email from
16       Charlie Kinsey notifying me I would not be allowed to
17       that I would not be allowed to attend. But I think there
18       was a previous email from Kevin, essentially telling me,
19        "If you want to attend, you're going to have to travel
20       out of D.C. because that's now your official
21       workstation."     And I remember responding to him and
22        saying, "Kevin, I live in Connecticut.         I'm scheduled to
23        fly out Monday, April     7th.    It makes no sense for me to
24        travel down to D.C. to then get on a plane to South




                                                          Initials~
                                                                        RC0726
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 51 of 61


                                                                         51



 1       Carolina," but obviously that reconsideration request, if
2        you will, was denied.

3              MS. EPPS:    And so it was done --- it was cancelled

4        because you were not flying out of D.C.?       You weren't in

5        D.C. to fly out?

6              COMPLAINANT:    Exactly.

7              MS. EPPS:    Okay.

 8             REPRESENTATIVE:      Jackie, can you --- can you speak

9        just briefly to the impact professionally that not being

10       able to attend that training had on you?

11             COMPLAINANT:    Oh, it placed me in default with my

12       bar, you know, I owed my bar 24 hours.       I think I had a

13            I had a balance I think of at least like 20 hours,

14       and I had anticipated complying with my requirement with

15       my bar by taking that course in April of 2013. When I was

16       unable to do that by my birthday in August 2013, I then

17       fell into default. So I had written to the Supreme Court

18       in Puerto Rico, which is the people who supervise our bar

19       membership, and had informed them of the situation.        "I

20       had been registered, it had been cancelled because of the

21       furlough, I'm requesting an extension, I'm registered in

22       this course in April of 2014, it will cover all of the

23       outstanding hours, it's a pre-approved course, please

24       grant me the extension" and I had been granted an

25       extension until the end of April of 2014 to comply with




                                                        Initials   ~
                                                                    RC0727
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 52 of 61


                                                                         52



1        my hours, so not being able to attend the training was

2        --- placed --- placed me in an incredibly difficult

3        situation with my bar.

4               MS. EPPS:   Okay.     Did you know of anyone else in ccs

5        that       in CCS that management had cancelled their

6        enrollment?

7               COMPLAINANT:   I --- I don't know.     I know that three

 8       of the CCS attorneys recently attended that training.

 9              MS. EPPS:   Okay.

10              COMPLAINANT:   Because [unclear] Senior Litigation

11       Counsel here in Connecticut teaches part of the evidence

12       section of it and was, you know, conveyed their

13              MS. EPPS:   Okay.

14              COMPLAINANT:   Greetings to me.

15              MS. EPPS:   Okay.     And you also allege that that

16       action was taken in retaliation based on your complaints

17       about differential treatment based on your sex, national

18       origin, etc.?

19              COMPLAINANT:   Yes.

20              MS. EPPS:   Okay.     Claim 6, you submitted a leave

21       request on April 13, 2014 for April 14 through 18 with

22       medical documentation from two doctors.        Management

23       denied that request and placed you on AWOL status due to

24       lack of medical documentation and this resulted in you




                                                        Initia1s   ~
                                                                       RC0728
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 53 of 61



                                                                           53


1        only receiving one week's pay on April 25, 2014.          So to

2        whom did you submit that request for leave on April 13th?

3              COMPLAINANT:   Again, those requests for leave are

4        submitted electronically.

5              MS. EPPS:   Okay.

6              COMPLAINANT:   And I believe they go to Charlie

7        Kinsey because he's the first-line supervisor.

 8             MS. EPPS:   Okay.   And was that sick leave, annual

9        leave, what --- what ---

10             COMPLAINANT:   It was sick leave.

11             MS. EPPS: Okay.     And so Charlie Kinsey would be the

12       one who denied that request?

13             COMPLAINANT:   I believe so.

14             MS. EPPS:   Okay. And that resulted in your being

15       placed on AWOL status.      Did they say why they considered

16       that a lack of medical documentation since it was

17       documentation from two doctors?

18             COMPLAINANT:   I want to say I received a request, so

19       I submitted the request before that week and it wasn't

20       until the end --- towards the end of the week that he

21       sent me an email requesting clarification on some of the

22       documentation that I had received --- that I had

23       submitted. But of course, by the time I received his

24       request, it was --- it was late in the week, so there's




                                                        Initia1s   ~
                                                                      RC0729
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 54 of 61



                                                                         54



 1       no way I would be able to comply before the following

2        Monday.

3              MS. EPPS:   Okay.

4              COMPLAINANT:   And eventually I did --- eventually I

5        do comply, I do submit whatever additional information it

6        was that they were requesting, and that week is

7        retroactively approved [unclear] .

 8             MS. EPPS:    [Unclear] you were       go ahead.

 9             COMPLAINANT:   But for a period of time I did not

10       receive pay for that week.

11             MS. EPPS: Okay, but when they retroactively approved

12       it you were retroactively put in a pay status for that?

13             COMPLAINANT:    Yeah.

14             MS. EPPS:   Okay.   Any other action taken --- taken

15       resulting from your being placed in that AWOL status for

16       that time?

17             COMPLAINANT:    Any other action?    You mean like ---

18             MS. EPPS:   Other than not being paid, any other kind

19       of

20             COMPLAINANT:    I mean it obviously didn't help my

21       mental condition.

22             MS. EPPS: Okay, yeah, yes.      And that was all Charlie

23       Kinsey and Carwile?

24             COMPLAINANT:    I believe so.




                                                        Initia1s   ~
                                                                    RC0730
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 55 of 61



                                                                           55



1              MS. EPPS:   Okay.     And would you have any knowledge

2        of anyone else being treated in that manner based on ---

3              COMPLAINANT:   I don't.     I don't know of any other

4        attorney at CCS that has been placed on AWOL status.          I

5        don't.

6              MS. EPPS:   Oh, okay.     Okay.   And do you allege that

7        that action was taken as retaliation for the complaints

 8       of differential treatment you made based on your sex,

 9       national origin, parental status, and your impairments?

10             COMPLAINANT:   !    do.

11             MS. EPPS:   Okay.     Anything you want to add about

12       those actions?

13             COMPLAINANT:   No.

14             MS. EPPS: So what remedy --- oh, I'm sorry.

15             COMPLAINANT:   No, no, that's fine.

16             MS. EPPS:   What remedy are you seeking in the

17       resolution of this complaint?

18             COMPLAINANT:   Well, I'm seeking monetary

19       compensation and my attorney fees.

20             MS. EPPS:   Okay.

21             COMPLAINANT:    I'm seeking --- I'm also ---

22             MS. EPPS:   Go ahead.

23             COMPLAINANT:    As you know, although I'm an Assistant

24       United States Attorney now with the District of

25        Connecticut, I still have a personnel file with the




                                                         Initia1s   ~
                                                                      RC0731
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 56 of 61


                                                                           56



1        Department of Justice, so I'm also seeking that the

2        reprimand, which I believe was completely unjustified, be

3        removed from my personnel file.

4                MS. EPPS: Okay.     Okay.       Anything additional?

5                COMPLAINANT:   Not at this time.

6                MS. EPPS:   Okay.    Are there persons that you believe

7        would be able to provide relevant, first-hand, and no

 8       hearsay information in support of your claims and

9        statements in support of your claims that you suggest be

10       interviewed?

11               COMPLAINANT:   Well, yeah, I think my co-counsels and

12       the different cases I handled to corroborate the amount

13       of work that I was conducting in each of those cases, so

14       do you need me to actually name --- give you the names

15       right now?

16               MS. EPPS:   Yeah, I would prefer that you ---

17               COMPLAINANT:      [Unclear] .

18            .MS. EPPS: Yes, send me a list with their email

19       address or phone number, or some way for me to contact

20       them.

21               COMPLAINANT:   Okay, I can do that.

22               MS. EPPS:   Would that be okay?

23               COMPLAINANT:   That's fine.




                                                              Xnitia1s   ~

                                                                         RC0732
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 57 of 61


                                                                         57



 1               MS. EPPS:   Okay. And you would expect them to

2        corroborate the kind of work --- caliber of work, etc.

3        that you did on those cases at the time?
4                COMPLAINANT:   Yes.

5                MS. EPPS:   Okay.     Anything else that you expect
6        any other information you expect them to provide,

 7       indicate that on the list that you send me with their
 8       name.

 9               COMPLAINANT:   Well, I think my --- I think my

10       colleagues would also be able to corroborate just a

11       the difficulty of litigating, you know, capital cases in

12       opposite coasts, the difficulty in managing the amount of

13       assignments that were being handed to trial attorneys in
14       the Capital Case Section.         With regards to the leave

15       requests, for example, you know, the fact that, you know,
16       we pretty much put in for leave and it's readily

17       approved, I mean I had never, in the five years or

18       however plus years I've been with the Capital Case

19       Section, I've never been denied leave if I had leave

20       available to take.
21               MS. EPPS:   Okay.

22               COMPLAINANT:   There was one time under Peggy Griffey

23       when I was undergoing continuous testing for really weird
24       medical episode that happened to me and I went, you know,
25       fell low on my sick leave hours, and so she requested me




                                                         Initia1s   ~

                                                                       RC0733
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 58 of 61



                                                                         58



1        to check with her every time whenever I was requesting
2        sick leave, which, you know, I had no problem with, I

3        agreed, obviously I had documentation from my doctors
4        whenever I had an appointment, and you know, my leave
5        balance after that went up and we resolved it amicably.

6        There was no problem there.
7              MS. EPPS:   Okay.
 8             COMPLAINANT:   What else --- obviously, I'll review

9        my statement again, and give it some thought, and see who
10       can provide relevant information, and I'll give you the
11       names and numbers.

12             MS. EPPS:   Okay, that       that will be fine.     Yeah,
13       you can just email them to me.      When I send you the
14       transcript back, anything you want to add, of course
15       you'll be able to         then so if you feel there's
16       anything you have not addressed, don't hesitate to add

17       it.
18             COMPLAINANT:   All right.
19             MS. EPPS:   Anything additional you want to add now
20       that has not been previously addressed?
21             COMPLAINANT:    I can't think of anything right now.
22             MS. EPPS: Okay, well, like I said, you can always

23       add later on.     So if there's nothing you or your counsel
24       would like to add?




                                                        Initials   ~
                                                                     RC0734
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 59 of 61


                                                                         59



1              REPRESENTATIVE:    No, I think that everything's been

2        covered.   We will get you a list of names and contact

3        information in the next couple of days, and other than

4        that, if we think of anything further that [unclear]

5        addition to the interview today and [unclear] be helpful,

6        we'll include that as well.

7              MS. EPPS: Great. Thank you so much for your

8        cooperation and for the interview of this morning.         If

9        there's nothing else to add, I will declare this

10       interview completed. Thanks again.

11             COMPLAINANT:   All right, thank you.

12             REPRESENTATIVE:    Thank you very much.

13             MS. EPPS:   Okay, bye-bye.

14             REPRESENTATIVE: Bye-bye.

15




                                                         Initials   ~
                                                                     RC0735
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 60 of 61


                                                                         60



1                         COMPLAINANT STATEMENT CERTIFICATE

2
3              I, Jacabed Rodriguez-Coss, have read the preceding

4        statement consisting of 59 pages and it is true and

5        complete to the best of my knowledge and recollection.          I

6        understand that the information I have given is not to be

7        considered confidential and that it may be shown to the

 8       interested parties.     I have been given an opportunity to

9        review the statement and make any changes, corrections,

10       additions, or deletions.     I have initialed each page and

11       signed the statement below.

12

13

14

15                                              Date Executed

16

17

18        Investigator Signature
19
20
21




                                                        Initia1s   ~
                                                                    RC0736
     Case 3:16-cv-00633-VLB Document 46-1 Filed 12/23/17 Page 61 of 61



                                                                         61


1
2                          TRANSCRIBER'S CERTIFICATE
3
4                              SWORN STATEMENT OF
5                            JACABED RODRIGUEZ-COSS

6                                  CONDUCTED BY

7                   CHERYL EPPS, CONTRACT EEO INVESTIGATOR

 8

9              I do hereby certify that the foregoing pages 2

10       through 59 inclusive are the true, accurate, and complete

11       transcript prepared from the audiotape recorded and

12       provided by the investigator in this case.

13

14

15

16
17                                                MICHELLE BOERNER
18                                                Legal Transcriptionist
19                                                October 1, 2014
20
21
22
23
24

25

26
27
28
29




                                                        Initia1s   ~
                                                                    RC0737
